INTHE SOUTHERN DISTRICT COURT OF WEST VIRGINIA BECK EY BY iS eo

If You Were an Inmate at the Southern Regional Jail
for 3 or More Days Since September 22, 2020,

You Could Get Money from a Class Action Settlement.

A Federal Court has authorized this notice. This is not a solicitation from a lawyer.

* West Virginia has agreed to pay $4 million to settle aclass action lawsuit claiming
inhumane conditions and improper treatment at Southern Regional Jail. The lawsuit will
continue against the medical providers to the jail, Primecare and Wexford, and the county
commissions that house inmates at the facility which include Greenbrier, Raleigh,
Wyoming, Fayette, Mercer, Monroe, and Summers.

* Four separate $1 million insurance policies will be shared by approximately 7,850 current
and former inmates. The amount that is given to each inmate will be based on the amount
of time spent at the Southern Regional Jail since September 22, 2020.

Your legal rights are affected even if you do nothing. Please read this notice carefully.

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Submit a a . ,
2 Claim o . This is the only way to get a payment. 7024 ,
. | Write to the Court about why you don’t like the settlement.| Month XX]
Object

oe ood
Got to the Month XX,
Hearing . Ask to speak in Court about the fairness of the settlement. 20 24
: Do Nothing : Get no payment. Give up your rights. N/A

* These rights and options—and the deadlines to exercise them—are explained in more
detail below.

* The Court has preliminarily approved the settlement but still must decide whether to give
final approval. Payments will be made to eligible Class Members only if the Court gives
final approval to the settlement and, if there are any appeals, after the appeals are resolved
in favor of the settlement. Please be patient.

Questions? Call 1-8XX-XXX-XXXX or Visit www. WV jailsettlement.com

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- 1 Why was this notice issued? oe,

A court authorized this Notice because you have a right to know about a proposed settlement of
this class action and about your rights and options before the Court decides whether to give final
approval to the settlement.

USS District Judge Frank Volk of the Southern District Court of West Virginia is overseeing the
settlement. The case is called Rose v. Sandy, No. 5:22-cv-00405 (S.D.W.V.). The people who
sued are called the Plaintiffs. The Settling Defendants are Jeff S. Sandy, individually and in his
official capacity as the former Cabinet Secretary of the West Virginia Department of Homeland
Security, William K. Marshall III, individually and in his official capacity as the Commissioner of
the West Virginia Division of Corrections and Rehabilitation, Betsy Jividen, Brad Douglas, and
Michael Francis.

. 2... What is this lawsuit about?

Former inmates are suing on behalf of themselves and others, saying they were subjected to
inhumane treatment (for example, overcrowding, faulty plumbing, unsanitary living conditions,
inadequate nutrition, inadequate bedding and hygiene items, improper disciplinary measures, lack
of prisoner safety) during their time at Southern Regional Jail.

3. Why is this a class action?

In a class action lawsuit, one or more people called Class Representatives sue on behalf of
themselves and other people who have similar claims. In this case, the Class Representatives are
Michael D. Rose, Robert C. Church, Sr., Nicole Henry, Edward L. Harmon, Thomas Fleenor, Jr.,
William Bohn, and Tonya Persinger. One court will resolve the issues for all Class Members.

4. Why is there a settlement?’ eo

The Court has not decided in favor of the Plaintiffs or the Settling Defendants. Instead, both sides
have agreed to a settlement. By agreeing to a settlement, the Parties avoid the costs and uncertainty
of a trial, and Class Members receive benefits described in this Notice. The settlement does not
mean that the Defendants did anything wrong.

Questions? Call 1-8XX-XXX-XXXX or Visit www. WV jailsettlement.com

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If you. received : a notice in 1 the mail and/or eiail about the settlement, then: you may be a. Class
Member. But even if you ‘did not receive a. notice about this: Settlement, you may bea Class. .
Member, as described below. .

5 Who is included i in 1 the settlement? ~ .
You are included in the settlement if you were an inmate at Southern Regional Jail for more than

two days anytime between September 22, 2020 and Month XX, 2024! or the date the settlement is
granted final approval.

6. What if ’m still not sure if I am included? oS

If you are not sure whether you are included, you may call [1-8XX-XXX-XXXX! or visit
www.WVjailsettlement.com. You may also write with questions to WV Jail Settlement, PO Box

XX, Minrieapolis MN 55440-0044.

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~7...: What does the settlement provide?

Settling Defendants have agreed to create a Settlement Fund of $4,000,000, the highest amount the
state’s insurance coverage will pay. The Settlement Fund will pay eligible,Class Members, as well
as attorneys’ fees and expenses. The Defendant will also provide up to $50,000 to pay the cost to
provide notice and administer the settlement.

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. 8. How ¢ can nl get a: payment? ms

To ask for a payment, you must complete and submit a Claim Form online or by mail ee vlont
XX, 2024. Claim Forms are available at www. WVjailsettlement.com., or by calling /l-
. Please read the instructions carefully.

9... When will Iiget a payment? —

Class Members who are entitled to payments will receive their payment sometime after the
settlement becomes final. This will not happen until the Court grants final approval to the

Questions? Call 1-8SXX-XXX-XXXXi or Visit www. WV jailsettlement.com

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settlement and any appeals are resolved in its favor (see “The Fairness Hearing” below). If there
are appeals, resolving them can take time.

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10. Do have a lawyer in this case?

Yes. The Court has appointed several law firms to represent all Class Members.

Stephen P. New Amanda J. Taylor Timothy P. Lupardus
Emilee B. Wooldridge Taylor, Hinkle & Taylor | Lupardus Law Office
Stephen New & Associates 1151/2 § Kanawha Street | 275 Bearhole Road
430 Harper Park Drive Beckley, WV 25801 Pineville, WV 24874
Beckley, WV 25801

Robert Dunlap Zachary Kyle Whitten

Robert P. Dunlap & Associates PLLC | Whitten Law Office

345 Prince Street 50 Main Avenue

Beckley, WV 25801 Pineville, WV 24874

You will not be charged for contacting these lawyers. [f you want to be represented by your own
lawyer, you may hire one at your own expense.

11. How will he lawyers be paid?

Class Counsel will be paid from the Settlement Fund for fees and expenses (up to 35% of the
Settlement Fund). The request for fees and expenses must be approved by the Court. Class
Counsel will also request that the Court approve an incentive award of $1,000 for each Class
Representative for their efforts in bringing the class action.

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Can Is sue the Setting Defendants « on n my 0 own if I do: not participate i in the gh Soa
settlement? mene : - me Bee

No. This is a limited fund settlement which means you will not be able to sue the Settling
Defendants on your own for matters covered by the settlement, because there would not be enough
funds available to litigate those claims. The Settlement Agreement, available on the Internet at
www. WVjailsettlement.com, contains the full terms of the release of claims.

Questions? Call 1-8XX-XXX-XXXXI or Visit www.WVjailsettlement.com

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“43. How do I tell the Court if I do not like the settlement?

You can object to the settlement if you don’t like some part of 1t. The Court will consider your
views. To object, you must submit a letter that includes:

* Your full name, address, telephone number, and email address (if available);

*« Astatement saying that you object to the settlement in Rose v. Sandy, No. 5:22-cv-00405;

* In clear and concise terms, the objection and legal and factual arguments supporting the
objection;

* Facts showing that you are a Class Member;

* The statement “I declare under penalty of perjury under the laws of the United States of
America that the foregoing statements regarding Class membership are true and correct to
the best of my knowledge”; and

* Your signature and date.

If you intend to appear at the Fairness Hearing (with or without personal counsel), the writien
objection must also contain:

. Identify the attorney(s) representing you who will appear at the hearing.

. Include the attorney(s) name, address, phone number, e-mail address, and the state bar(s)
to which counsel is admitted.

. If you intend to request the Court to allow you to call witnesses at the hearing, you need
to include that information in your written objection, which must also contain a list of
any witnesses and a summary of each witness’s expected testimony.

You must file your written objection with the Court no later than Month XX, 2024:

. Court .
Clerk of Court
Robert C, Byrd United States
Courthouse and Federal Building
110 North Heber Street
Beckley, WV 25801]

If you do decide to make your objection through your own attorney, you will be responsible for
your attorney’s fees and costs. It is not necessary to have an attorney to file an objection.

Questions? Call {l-8XX-XXX-XXXX' or Visit www.WVjailsettlement.com

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‘4, What is the Fairness Hearing?

The Court will hold a hearing to decide whether to give final approval to the settlement, called a
Fairness Hearing. The purpose of the Fairness Hearing is for the Court to determine whether the
settlement should be approved as fair, reasonable, adequate, and in the best interests of the Class,
as well as to consider the award of attorneys’ fees and expenses to Class Counsel.

15. When and where is the Fairness Hearing? © a

The hearing will be held on Month XX, 2024! at k:xx x.mJ in the U.S. District Court for the Southern
District of West Virginia, located at 110 North Heber Street;
Beckley, WV 25801. At the hearing, the Court will hear any objections and arguments about the
proposed settlement. The hearing may be postponed to a different date or time or location without
notice. Please check the website for any updates or changes about the settlement generally or the
Fairness Hearing spectfically.

- 16. _May I speak at the hearing? PERSE

You may ask the Court for permission to speak at the hearing, but you may only do so if you have
properly objected to the settlement (see Question 13).

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“17. How dol get more information? =

This Notice summarizes the settlement. More details are in the Settlement Agreement. To see a
copy of the Settlement Agreement, the Court’s Preliminary Approval Order, Class Counsel’s
application for attorneys’ fees and costs, and the Complaint filed in this class action visit
www. WVijailsettlement.com. or call 1-8XX-XXXK-XXXIX.

18. | What if my address or other information has changed or changes after I submit
Claim Form? ne ee 8 iter San

It is your responsibility to inform the Claims Administrator of your updated information. You may
do so by email (anfo@ W Vjailsettlement,com) or at the address below:

WV Jail Settlement - XXXX
PO Box 44

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Minneapolis, MN 55440-0044

Questions? Call 1-8XX-XXX-XXXX or Visit www. W Vjailsettlement.com

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